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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

LITTLE ROCK SCHOOL DISTRICT,
et al.                                                                   PLAINTIFFS

v.                            CASE NO. 4:82cv00866 BSM

PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, et al.                                               DEFENDANTS

                                       ORDER

      Pulaski County Special School District (“PCSSD”) requests that the court reject as

evidence specific language used in ODM reports. [Doc. No. 4414]. Joshua Intervenors have

responded [Doc. No. 4415], and PCSSD has replied [Doc. No. 4416]. The supplemental

motion in limine is denied.

      IT IS SO ORDERED this 6th day of May, 2010.



                                             ___________________________________
                                             UNITED STATES DISTRICT JUDGE
